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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                               Chapter 7

PETLAND DISCOUNTS, INC.                                              Case No. 19-72292-reg
dba ALL PET DISTRIBUTORS,

                                    Debtor.
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            REPORT OF SALE OF THE ESTATE’S RIGHT, TITLE AND
           INTEREST IN A CERTAIN CLASS ACTION LAWSUIT CLAIM

TO:      THE HONORABLE ROBERT E. GROSSMAN,
         UNITED STATES BANKRUPTCY JUDGE:

         Allan B. Mendelsohn, the Chapter 7 Trustee (the “Trustee”) for the Estate of

Petland Discounts, Inc. dba All Pet Distributors (the “Debtor”), by and through his

attorneys, Rosen & Kantrow, PLLC, respectfully submits this Report of Sale in connection

with the sale of the estate’s right, title and interest in the claim (the “Claim”) relating to the

class action lawsuit known as In re Payment Card Interchange Fee and Merchant Discount

Antitrust Litigation, Case No. 1:05 md-1720-JG-JO, filed in the United States District

Court for the Eastern District of New York (the “Litigation”), and respectfully represents

as follows:

                                             BACKGROUND

         1.        On March 28, 2019 (the “Petition Date”), the Debtor filed a voluntary

petition for relief from its creditors pursuant to Chapter 7 of the Bankruptcy Code.

         2.        Thereafter, Allan B. Mendelsohn was appointed interim Trustee of the


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Debtor’s estate and, by operational of law, became the permanent Trustee of the Debtor’s

estate.

                                            THE CLAIM

          3.     As of the Petition Date, the Debtor was a class member in, and a potential

beneficiary of, the class action lawsuit known as In re Payment Card Interchange Fee and

Merchant Discount Antitrust Litigation, Case No. 1:05 md-1720-JG-JO, filed in the United

States District Court for the Eastern District of New York.

          4.     The Litigation is a class-action lawsuit filed in 2005 by various merchants

and trade associations against Visa, MasterCard and other financial institutions that issued

payment cards. The Litigation was filed due to alleged price fixing and other allegedly anti-

competitive trade practices in the credit card industry.

          5.     As a member of the plaintiff class in the Litigation, the Debtor may have a

Claim for damages against the defendants in the Litigation and the Debtor may be entitled

to a monetary or other recovery with respect to the Claim1.

                                         SALE PROCESS

          6.     The Trustee’s marketing efforts resulted in the Trustee entering into claim

purchase agreement with Optium Fund 3, LLC (the “Stalking Horse Purchaser”) to

purchase the Claim for $45,000.00.

          7.     On October 9, 2020, this Court entered an Order [Dkt. No. 178] (the “363

Order”) authorizing the Trustee to, among other things, enter into the stalking horse

contract with the Stalking Horse Purchaser and to sell the Claim to the highest and best



1
 The Trustee makes no representations whatsoever as to the status of the Claim and whether the Claim will
yield a recovery.


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bidder at an auction sale (the “Auction Sale”) that was to be conducted on November 2,

2020.

        8.    No qualifying bids were received; therefore, the Auction Sale was cancelled

and the Trustee determined that the highest and best bidder for the Claim was the Stalking

Horse Purchaser.

                             MARKETING CAMPAIGN

        9.    The Trustee’s strategy for marketing the Claim and the Auction Sale was to

advertise the Claim in the New York Times. A copy of the New York Times Publication

of Sale and the Affidaivt of Publicaton have been filed the Court and docketed as Dkt. No.

181.




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       10.     In accordance with the Court’s 363 Order, since no qualifying bids were

received, and as a result, an auction sale did not occur, a further hearing as to whether to

approve the sale of the Claim to the Stalking Horse Purchaser was not required and the 363

Order shall serve as an Order confirming the sale to the Stalking Horse Purchaser.

       WHEREFORE, the Trustee believes that the highest and best results were

achieved for the sale of the Claim.

Dated: November 10, 2020                             Respectfully submitted,
       Huntington, New York
                                                     Rosen & Kantrow, PLLC
                                                     Attorneys for Allan B. Mendelsohn,
                                                     Chapter 7 Trustee

                                              By:    /s/ Fred S. Kantrow
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